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     Attorney for ANDREY LUNGU
7

8

9
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:12-CR-0322GEB
                      Plaintiff,       )
12                                     ) STIPULATION AND
           v.                          ) [PROPOSED] FINDINGS AND ORDER
13
                                       ) TO CONTINUE STATUS CONFERENCE
14                                     ) UNDER SPEEDY TRIAL ACT
     ANDREY LUNGU, et al.,             )
15
                                       ) Date: April 21, 2017
16                    Defendants.      ) Time: 9:00 a.m.
     __________________________________) Judge: Hon. Garland E. Burrell.
17

18                                      STIPULATION

19     1. By previous order, this matter was set for status on April 21, 2017.
20
       2. By this stipulation, defendants now move to continue the status conference until
21
          May 19, 2017, and to exclude time between April 21, 2017 and May 19, 2017,
22

23        under Local Code T4.
24
       3. The parties agree and stipulate, and request that the Court find the following:
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              a. The government produced discovery associated with this case. The
26

27               government has also made physical evidence available for review.

28            b. Counsel for the defendants are still reviewing discovery, meeting with


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1                respective clients, investigating information and negotiating various
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                 possible resolutions in this case..
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             c. Counsel for defendants believe that failure to grant the above-requested
4

5                continuance would deny counsel the reasonable time necessary for
6
                 effective preparation, taking into account the exercise of due diligence.
7
             d. The government does not object to the continuance.
8

9            e. Based upon the above-stated facts, the ends of justice served by continuing

10               the case as requested outweigh the interest of the public and the defendant
11
                 in a trial within the original date prescribed by the Speedy Trial Act.
12

13
             f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

14               § 3161, et seq., within which trial must commence, the time period of
15
                 April 21, 2017, 2016, to May 19, 2017, inclusive, is deemed excludable
16
                 pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4, because it
17

18               results from a continuance granted by the Court at defendants’ request on
19
                 the basis of the Court’s finding that the ends of justice served by taking
20
                 such action outweigh the best interest of the public and the defendant in a
21

22               speedy trial.

23
       4. Nothing in this stipulation and order shall preclude a finding that other provision
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          of the Speedy Trial Act dictate that additional time periods are excludable from
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26
          the period within which a trial must commence.

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     IT IS SO STIPULATED.

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2    Dated: April 14, 2017                      Respectfully submitted,
3
                                                /s/ Kelly Babineau
4                                               KELLY BABINEAU
                                                Attorney for Andrey Lungu
5

6
     Dated: April 14, 2017                      /s/ Kenny N. Giffard by Kelly Babineau
7
                                                KENNY N. GIFFARD
8                                               Attorney for Alexsandr Lastovskiy
9

10   Dated: April 14, 2017                      /s/ Joseph A. Welch by Kelly Babineau
                                                JOSEPH A. WELCH
11                                              Attorney for Tatyana Shvets
12
     Dated: April 14, 2017                      /s/ Robert M. Wilson by Kelly Babineau
13                                              ROBERT M. WILSON
14
                                                Attorney for Alexsandr Maslov

15
     Dated: April 14, 2017                      /s/ Heiko Coppola by Kelly Babineau
16
                                                HEIKO COPPOLA
17                                              Assistant U.S. Attorney
18
                                FINDINGS AND ORDER
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           IT IS SO FOUND AND ORDERED.
21
     Dated: April 20, 2017
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